                     Case 24-55977           Doc 1       Filed 06/05/24 Entered 06/05/24 18:55:46                              Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RAA RESTAURANT GROUP, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2233 Peachtree Rd, NE
                                  Atlanta, GA 30309
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  2000 Powers Ferry Rd Second Floor Marietta, GA
                                                                                                  30067
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    RAA RESTAURANT GROUP, INC.                                                                   Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

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Debtor   RAA RESTAURANT GROUP, INC.                                                                Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   RAA RESTAURANT GROUP, INC.                                                                Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        June 5, 2024
                                                  MM / DD / YYYY


                             X /s/       Robert Alden Adams                                                Robert Alden Adams
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    PRESIDENT




18. Signature of attorney    X /s/ Leonard R. Medley,, III                                                 Date    June 5, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Leonard R. Medley,, III 500685
                                 Printed name

                                 Leonard Medley
                                 Firm name

                                 2727 Paces Ferry Rd
                                 Suite 1450 Bld 2
                                 Atlanta, GA 30339
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (770) 319-7592               Email address      closer@mkalaw.com

                                 500685 GA
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
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 Fill in this information to identify the case:

 Debtor name         RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           June 5, 2024                           X /s/ Robert Alden Adams
                                                                       Signature of individual signing on behalf of debtor

                                                                        Robert Alden Adams
                                                                       Printed name

                                                                       PRESIDENT
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name RAA RESTAURANT GROUP, INC.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ASCAP                                                          Account                                                                                                   $16,340.53
 21678 Network Place
 Chicago, IL 60673
 BMI                                                            Account                                                                                                   $14,371.07
 10 Music Square East
 Nashville, TN 37203
 COBB COIUNTY                                                   Account                                                                                                     $3,145.49
 PROPERTY TAXES
 PO Box 100127
 Marietta, GA 30061
 COBB COUNTY                                                    Account                                                                                                     $8,781.18
 PROPERTY TAX
 PO Box 100127
 Marietta, GA 30062
 COBB LIQUOR TAX                                                Account                                                                                                   $11,200.00

 Curtis Lefoy Grant                                                                                                                                                       $25,000.00

 Denton's                                                       Account                                                                                                   $19,000.00
 303 Peachtree Street,
 NE, Suite 5300
 Atlanta, GA 30308
 GA DEPT OF                                                     Account                                                                                                   $19,844.18
 REVENUE
 1800 Century
 Boulevard, NE
 30345
 Gateway International                                          Account                                                                                                   $63,465.00
 2000 Powers Ferry
 Rd
 Marietta, GA 30067
 Georgia Natural Gas                                            Account                                                                                                     $1,527.77
 PO Box 440667
 Kennesaw, GA 30160
 Georgia Power                                                  Account                                                                                                     $4,279.02
 BIN # 10102 241
 Ralph McGill Blvd
 Atlanta, GA 30308

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    RAA RESTAURANT GROUP, INC.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IPFS Corporation                                               Account                                                                                                   $11,923.62
 (Insurance)
 PO Box 412086,
 Kansas
 Kansas City, MO
 64141
 Raja Warfield                                                  Credit card                                                                                               $49,951.80
 227Sandy Springs                                               purchases
 Place #284
 Atlanta, GA 30328
 Ralph Masionette                                               Account                                                                                                   $75,000.00

 Scottsdle Insurance                                            Account                                                                                                     $6,738.16
 Company

 Sysco                                                                                                                                                                      $8,700.00
 2225 Riverdale Rd
 Atlanta, GA 30337
 Tax Cobb Property                                              Account                                                                                                     $9,189.32
 PO Box 100127
 Marietta, GA 30062
 THE WALTERS                                                    Account                                                                                                   $50,000.00
 FIRM PC
 The Garland Law
 Building 3151 Maple
 Drive NE
 Atlanta, GA 30305
 THOMAS E DIXON                                                                                                                                                           $46,174.00

 US Small Business                                              Account                                                                                                 $166,161.45
 Admin.
 409 3rd St., SW
 Washington, DC
 20416




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Fill in this information to identify the case:

 Debtor name            RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           127,215.50

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           127,215.50


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           615,578.53


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             615,578.53




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     bank of america                                         Checking                        9476                                             $1.00




           3.2.     bank of america                                         Checking                        3731                                             $2.00




           3.3.     bank of america                                         Checking                        7812                                             $3.00




           3.4.     bank of america                                         Checking                        7193                                             $4.00




           3.5.     bank of america                                                                         7185                                             $5.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                     $15.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         RAA RESTAURANT GROUP, INC.                                                    Case number (If known)
                Name



        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           13 24x24 tall tables                                                             $0.00                                             $480.00


           10 30 x 30 tall tables                                                           $0.00                                             $400.00


           10 30x30 short tables                                                            $0.00                                             $400.00


           105 low back chairs                                                              $0.00                                             $105.00


           92 Black High chairs                                                             $0.00                                           $2,300.00


           105 LOW BACK CHAIRS                                                              $0.00                                           $1,575.00


           65 PURPLE HIGH CHAIRS                                                            $0.00                                           $1,625.00


           50 NO BACK PURPLE STOOLS                                                         $0.00                                             $750.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         RAA RESTAURANT GROUP, INC.                                                   Case number (If known)
                Name



           9 SINGLE BOOTHS W/ TABLE                                                         $0.00                                 $2,250.00


           4 DOUBLE BOOTHS WITH TABLE                                                       $0.00                                 $1,000.00


           11 EVIDS                                                                         $0.00                                 $3,300.00


           9 65 INCH TV'S                                                                   $0.00                                 $1,350.00


           7 75 INCH TV'S                                                                   $0.00                                 $1,750.00


           2 SBL PRX 800 SPEAKERS                                                           $0.00                                 $1,025.00


           3 24 INCH ICE WELLS                                                              $0.00                                 $1,575.00


           3. 18 INCH DUMP SINKS                                                            $0.00                                   $630.00


           1- 12 INCH HAND SINK                                                             $0.00                                     $60.00


           2- 24 INCH DRAIN TABLE W/ SHELVES                                                $0.00                                   $500.00


           1- 50 INCH BOTTLE BOX                                                            $0.00                                   $750.00


           1- 50 INCH TWO GLASS DOOR BACK COOLER                                            $0.00                                   $375.00


           1- 60 INCH 4 HEAD KEG COOLER                                                     $0.00                                 $1,200.00


           2- 12 INCH DRAIN TABLE                                                           $0.00                                   $420.00


           1- 75 INCH TV                                                                    $0.00                                   $250.00


           3- 43 INCH TV                                                                    $0.00                                   $300.00


           3 JBL'S VIP                                                                      $0.00                                   $630.00


           5- STAGE MONITORS                                                                $0.00                                   $450.00


           1- PRO FX 12 CHANELL MIXING BOARD                                                $0.00                                   $263.00


           1- QSC 300 AMPLIFIER                                                             $0.00                                   $210.00


           1 BEHRINGER 4000 POWER AMP                                                       $0.00                                   $475.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
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 Debtor         RAA RESTAURANT GROUP, INC.                                                   Case number (If known)
                Name

           GBX QUAD COMPRESSOR BEHRINGER 2496
           DRIVE                                                                            $0.00                                   $240.00


           1- BEHRINGER 4600 DRIVE RACK                                                     $0.00                                     $95.00


           1- LIGHT ABOVE DJ STATION                                                        $0.00                                     $25.00


           4- FOCUS SPOT 32 LIGHTS WITH LAPTOP                                              $0.00                                   $750.00


           4- POWERED JBL'S                                                                 $0.00                                   $400.00


           2- JBL'S BEHIND MAIN BAR FACING EACH
           OTHER                                                                            $0.00                                   $200.00


           4- SPEAKERS                                                                      $0.00                                   $400.00


           1- 1000 LB ICE. MAKER                                                            $0.00                                  $3,500.00


           1- 800 LB HOPPER                                                                 $0.00                                   $800.00


           1- 60 INCH SIX EYE STOVE TOP W/ DUAL
           OVEN - 24 INCH GRIDDLE                                                           $0.00                                  $4,500.00


           1- 24 INCH CHARBROILER                                                           $0.00                                   $250.00


           1- 48 INCH REFRIGERATOR CHEF'S TABLE                                             $0.00                                  $2,000.00


           2- 30 LB FRYER                                                                   $0.00                                   $900.00


           1- 80 LB FRYER                                                                   $0.00                                   $650.00


           1- 40 INCH WORKTOP FREEZER W/ 4 INCH
           BACKSPLASH                                                                       $0.00                                 $15,000.00


           3- 60 INCH SANDWHICH PREP                                                        $0.00                                  $5,700.00


           2- 60 INCH STAINLESS STEEL DISH CABINET                                          $0.00                                  $1,200.00


           4- 24 INC PLATTING SHELVES                                                       $0.00                                  $6,400.00


           1- 72 INCH PREP TABLE W/ OVERHAUL
           SHELVES                                                                          $0.00                                  $1,600.00


           1- 30 INCH PREP SINK                                                             $0.00                                   $500.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 4
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                Name



 40.       Office fixtures
           1- 84 INCH POT SINK W/ 2 DRAIN BOARDS                                            $0.00                                   $600.00


           1- 36 INCH DRAIN TABLE                                                           $0.00                                   $200.00


           36 INCH SOIL TABLE                                                               $0.00                                   $450.00


           1 40 INCH BEVERAGE CABINET                                                       $0.00                                 $1,500.00


           2 HEAT CABINETS                                                                  $0.00                                 $2,200.00


           2- DOUBLE 18 CASE CABINETS                                                       $0.00                                   $849.50


           SMALLWARES & DISHES                                                              $0.00                                 $4,500.00


           1- 60 INCH BOTTLE BOX                                                            $0.00                                   $891.00


           1 60 INCH TWO GLASS DOOR BACK BAR
           COOLER                                                                           $0.00                                   $375.00


           3- 24 INCH ICE WELLS                                                             $0.00                                 $1,575.00


           2 - 48 INCH LIQUOR RACKS                                                         $0.00                                   $400.00


           2- 48 INCH LIQUOR RACKS                                                          $0.00                                   $400.00


           3 18 INCH DUMP SINKS                                                             $0.00                                   $630.00


           2 - 48 INCH LIQUOR RACKS                                                         $0.00                                   $400.00


           3 - 18 INCH DUMP SINKS                                                           $0.00                                   $630.00


           1- 12 INCH HAND SINK                                                             $0.00                                   $150.00


           1- 24 IN. DRAIN TABLE SHELVES                                                    $0.00                                   $210.00


           5- 75 INCH TV'S                                                                  $0.00                                 $1,250.00


           3 EVIDS                                                                          $0.00                                   $600.00


           12 INCH HAND SINK                                                                $0.00                                   $150.00


           1- 18 INCH DUMP SINK                                                             $0.00                                   $210.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 5
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 Debtor         RAA RESTAURANT GROUP, INC.                                                   Case number (If known)
                Name



           1- 36 INCH PREP TABLE W/ SINK                                                    $0.00                                   $750.00


           1- 24 INCH 90 DEGREE DRAIN TABLE                                                 $0.00                                   $200.00


           PATIO FURNITURE                                                                  $0.00                                  $1,000.00


           2- 60 INCH BOTTLE BOX                                                            $0.00                                  $1,782.00


           1- 68 INCH GLASS DOOR PAST THROUGH
           BAR                                                                              $0.00                                   $200.00


           4- 24 INCH ICE WELLS                                                             $0.00                                  $2,100.00


           4- 12 INCH DUMP SINK                                                             $0.00                                  $1,600.00


           1- 18 INCH HAND SINK                                                             $0.00                                   $120.00


           1- 3 COMPACT BAR SINK                                                            $0.00                                     $90.00


           1- 12 INCH HAND SINK                                                             $0.00                                     $60.00


           1- 60 INCH TWO GLASS DOOR BACK BAR
           COOLER                                                                           $0.00                                   $375.00


           3- COMPARTMENT BAR SINK                                                          $0.00                                  $1,200.00


           1- 60 INCH ICE WELL W/ BLENDER STATION&
           DUMP SINK                                                                        $0.00                                  $1,900.00


           CAMERA SYSTEM                                                                    $0.00                                   $125.00


           8 STATION BERG SYSTEM                                                            $0.00                                 $24,000.00


           1 QDC CX 204V DIRECT AMP                                                         $0.00                                  $1,200.00


           1- QSC 300FI POWER AMP                                                           $0.00                                   $250.00


           1- DBL 2231                                                                      $0.00                                   $100.00


           MIXING BOARD                                                                     $0.00                                   $200.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           9- 24x24 short tables                                                            $0.00                                   $270.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 6
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                Name




 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                  $127,200.50
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
                No
                Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 7
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                  $15.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $127,200.50

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                           $127,215.50            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $127,215.50




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 8
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 Fill in this information to identify the case:

 Debtor name         RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      Unknown
           Cobb County Tax Commissioner                              Check all that apply.
                                                                        Contingent
            736 Whitlock Ave NW #100
                                                                        Unliquidated
           Marietta, GA 30064
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018--
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      Unknown
           Georgia Department of Labor                               Check all that apply.
                                                                        Contingent
           465 Big Shanty Rd
                                                                        Unliquidated
           Marietta, GA 30066
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           PO BOX 105416
                                                                        Unliquidated
                                                                        Disputed
           Atlanta, GA 30348
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
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 Debtor       RAA RESTAURANT GROUP, INC.                                                              Case number (if known)
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          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim


 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Alltrack Music License                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim: Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Alltrack Music License                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim: Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Antoine M Thomas/AmTrust Insurance                                    Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Antoine M Thomas/AmTrust Insurance                                    Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim: Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $16,340.53
          ASCAP
                                                                                Contingent
          21678 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 1311                               Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $185.82
          AT&T
          AT&T Remittance Center
                                                                                Contingent
          PO Box 5001                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 1421                               Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,371.07
          BMI
                                                                                Contingent
          10 Music Square East                                                  Unliquidated
          Nashville, TN 37203                                                   Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 1966                               Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,145.49
          COBB COIUNTY PROPERTY TAXES
                                                                                Contingent
          PO Box 100127                                                         Unliquidated
          Marietta, GA 30061                                                    Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Account
          Last 4 digits of account number 2296                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 6
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 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,781.18
          COBB COUNTY PROPERTY TAX
                                                                                Contingent
          PO Box 100127                                                         Unliquidated
          Marietta, GA 30062                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Account
          Last 4 digits of account number 2296                               Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,200.00
          COBB LIQUOR TAX                                                       Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim: Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $221.22
          Comcast
                                                                                Contingent
          PO Box 70219                                                          Unliquidated
          Philadelphia, PA 19177                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Account
          Last 4 digits of account number 5440                               Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $572.00
          Comcast
                                                                                Contingent
          PO Box 70219                                                          Unliquidated
          Philadelphia, PA 19177                                                Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 0128                               Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $272.52
          COMCAST
                                                                                Contingent
          PO Box 70219,                                                         Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 9637                               Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,000.00
          Curtis Lefoy Grant                                                    Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19,000.00
          Denton's
                                                                                Contingent
          303 Peachtree Street, NE, Suite 5300                                  Unliquidated
          Atlanta, GA 30308                                                     Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,208.20
          DirecTV
                                                                                Contingent
          PO Box 5006                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 8081                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 6
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 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19,844.18
          GA DEPT OF REVENUE
                                                                                Contingent
          1800 Century Boulevard, NE                                            Unliquidated
          30345                                                                 Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 8979                               Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $63,465.00
          Gateway International
                                                                                Contingent
          2000 Powers Ferry Rd                                                  Unliquidated
          Marietta, GA 30067                                                    Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,527.77
          Georgia Natural Gas
                                                                                Contingent
          PO Box 440667                                                         Unliquidated
          Kennesaw, GA 30160                                                    Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 0128                               Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,279.02
          Georgia Power
                                                                                Contingent
          BIN # 10102 241 Ralph McGill Blvd                                     Unliquidated
          Atlanta, GA 30308                                                     Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 2061                               Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,923.62
          IPFS Corporation (Insurance)
                                                                                Contingent
          PO Box 412086, Kansas                                                 Unliquidated
          Kansas City, MO 64141                                                 Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number 3203                               Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,228.00
          North Georgia Linen Services
                                                                                Contingent
          2410 Franklin Blvd                                                    Unliquidated
          Gainesville, GA 30504                                                 Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          PAYCHEX
                                                                                Contingent
          911 Panorama Trail South                                              Unliquidated
          Rochester, NY 14625                                                   Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $49,951.80
          Raja Warfield
                                                                                Contingent
          227Sandy Springs Place #284                                           Unliquidated
          Atlanta, GA 30328                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 6
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              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $75,000.00
          Ralph Masionette                                                      Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim: Account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          RONALD E COLEMAN & RON COKEMAN
          INVESTMEN
                                                                                Contingent
          999 Peachtree Street NE, Suite 1500                                   Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Account
          Last 4 digits of account number 7051                               Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,738.16
          Scottsdle Insurance Company                                           Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim: Account
          Last 4 digits of account number 6087
                                                                             Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          SESAC                                                                 Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,700.00
          Sysco
                                                                                Contingent
          2225 Riverdale Rd                                                     Unliquidated
          Atlanta, GA 30337                                                     Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,189.32
          Tax Cobb Property
                                                                                Contingent
          PO Box 100127                                                         Unliquidated
          Marietta, GA 30062                                                    Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Account
          Last 4 digits of account number 2296                               Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50,000.00
          THE WALTERS FIRM PC
                                                                                Contingent
          The Garland Law Building 3151 Maple Drive NE                          Unliquidated
          Atlanta, GA 30305                                                     Disputed
          Date(s) debt was incurred 2024                                     Basis for the claim: Account
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $46,174.00
          THOMAS E DIXON                                                        Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred 2024
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 6
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 Debtor       RAA RESTAURANT GROUP, INC.                                                              Case number (if known)
              Name

 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $166,161.45
           US Small Business Admin.
                                                                                Contingent
           409 3rd St., SW                                                      Unliquidated
           Washington, DC 20416                                                 Disputed
           Date(s) debt was incurred 2024                                    Basis for the claim: Account
           Last 4 digits of account number 7803                              Is the claim subject to offset?       No        Yes


 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,098.18
           Waste Pro
                                                                                Contingent
           4785 Fulton Indutrial Blvd SW Ste F                                  Unliquidated
           Atlanta, GA 30336                                                    Disputed
           Date(s) debt was incurred 2024                                    Basis for the claim: Account
           Last 4 digits of account number 8265                              Is the claim subject to offset?       No        Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       615,578.53

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                           615,578.53




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   lease of building
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 two years
                                                                                    gateway industries & associates, llc
             List the contract number of any                                        2000 Powers Ferry Road, Suite 2-1
                   government contract                                              Marietta, GA 30067




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.2     thomas dixon                      2233 Peachtree Rd, NE Unit 805                   gateway industries &                D
                                               Atlanta, GA 30309                                associates, llc                     E/F
                                                                                                                                    G   2.1




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         RAA RESTAURANT GROUP, INC.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $584,591.00
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $2,687,214.00
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $3,584,694.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       RAA RESTAURANT GROUP, INC.                                                                Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Ronald E. Coleman and Ron                        Civil Suit                 Superior Court Fulton County                   Pending
               Coleman Investments, LLC                                                                                                   On appeal
                 vs                                                                                                                       Concluded
               Thomas E Dixon III, RAA
               Restaurant Group, Inc, ATL
               Promotions Group Inc., Culinary
               Consultants, Inc. Robert Alden
               Adams, Mark Skowronek, and
               Cheri Dixon
               : 2021CV357051

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.
                MEDLEY & ASSOCIATES LLC
                                                                                                                               5.24                       $500.00

                Email or website address
                WWW.MKALAW.COM

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange                was made                        value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                     Dates of occupancy
                                                                                                                            From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3

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    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4

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 Debtor      RAA RESTAURANT GROUP, INC.                                                                 Case number (if known)




For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5

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 Debtor      RAA RESTAURANT GROUP, INC.                                                                 Case number (if known)



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Robert Alden Adams                                                                                 president                             100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6

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 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          June 5, 2024

 /s/    Robert Alden Adams                                               Robert Alden Adams
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         PRESIDENT

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 7

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                                                             United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      RAA RESTAURANT GROUP, INC.                                                                               Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the PRESIDENT of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       June 5, 2024                                                     Signature /s/ Robert Alden Adams
                                                                                            Robert Alden Adams

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                        United States Bankruptcy Court
                                                                                 Northern District of Georgia
 In re       RAA RESTAURANT GROUP, INC.                                                                                                            Case No.
                                                                                                           Debtor(s)                               Chapter    11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                  $                   500.00
             Prior to the filing of this statement I have received .......................................................                     $                   500.00
             Balance Due ...................................................................................................................   $                     0.00

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                 $
             The undersigned shall bill against the retainer at an hourly rate of ...............................                              $
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     $    338.00          of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       b. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       c. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
               agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
               liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.




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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     June 5, 2024                                                               /s/ Leonard R. Medley,, III
     Date                                                                       Leonard R. Medley,, III 500685
                                                                                Signature of Attorney
                                                                                Leonard Medley
                                                                                2727 Paces Ferry Rd
                                                                                Suite 1450 Bld 2
                                                                                Atlanta, GA 30339
                                                                                (770) 319-7592 Fax: (770) 319-7594
                                                                                closer@mkalaw.com
                                                                                Name of law firm




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                                              VERIFICATION OF CREDITOR MATRIX


I, the PRESIDENT of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct

to the best of my knowledge.




 Date:        June 5, 2024                                             /s/ Robert Alden Adams
                                                                        Robert Alden Adams/PRESIDENT
                                                                       Signer/Title




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                         Alltrack Music License


                         Antoine M Thomas/AmTrust Insurance


                         Antoine M Thomas/AmTrust Insurance


                         ASCAP
                         21678 Network Place
                         Chicago, IL 60673


                         AT&T
                         AT&T Remittance Center   PO Box 5001
                         Carol Stream, IL 60197


                         BMI
                         10 Music Square East
                         Nashville, TN 37203


                         COBB COIUNTY PROPERTY TAXES
                         PO Box 100127
                         Marietta, GA 30061


                         COBB COUNTY PROPERTY TAX
                         PO Box 100127
                         Marietta, GA 30062


                         Cobb County Tax Commissioner
                         736 Whitlock Ave NW #100
                         Marietta, GA 30064


                         COBB LIQUOR TAX


                         Comcast
                         PO Box 70219
                         Philadelphia, PA 19177


                         Comcast
                         PO Box 70219
                         Philadelphia, PA 19177


                         COMCAST
                         PO Box 70219,
                         Philadelphia, PA 19176


                         Curtis Lefoy Grant


                         Denton's
                         303 Peachtree Street, NE, Suite 5300
                         Atlanta, GA 30308


                         DirecTV
                         PO Box 5006
                         Carol Stream, IL 60197
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                         GA DEPT OF REVENUE
                         1800 Century Boulevard, NE
                         30345


                         gateway industries & associates, llc
                         2000 Powers Ferry Road, Suite 2-1
                         Marietta, GA 30067


                         Gateway International
                         2000 Powers Ferry Rd
                         Marietta, GA 30067


                         Georgia Department of Labor
                         465 Big Shanty Rd
                         Marietta, GA 30066


                         Georgia Natural Gas
                         PO Box 440667
                         Kennesaw, GA 30160


                         Georgia Power
                         BIN # 10102 241 Ralph McGill Blvd
                         Atlanta, GA 30308


                         Internal Revenue Service
                         PO BOX 105416
                         Atlanta, GA 30348


                         IPFS Corporation (Insurance)
                         PO Box 412086, Kansas
                         Kansas City, MO 64141


                         North Georgia Linen Services
                         2410 Franklin Blvd
                         Gainesville, GA 30504


                         PAYCHEX
                         911 Panorama Trail South
                         Rochester, NY 14625


                         Raja Warfield
                         227Sandy Springs Place #284
                         Atlanta, GA 30328


                         Ralph Masionette


                         RONALD E COLEMAN & RON COKEMAN INVESTMEN
                         999 Peachtree Street NE, Suite 1500
                         Atlanta, GA 30309


                         Scottsdle Insurance Company


                         SESAC
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                         Sysco
                         2225 Riverdale Rd
                         Atlanta, GA 30337


                         Tax Cobb Property
                         PO Box 100127
                         Marietta, GA 30062


                         THE WALTERS FIRM PC
                         The Garland Law Building 3151 Maple Driv
                         Atlanta, GA 30305


                         thomas dixon
                         2233 Peachtree Rd, NE Unit 805
                         Atlanta, GA 30309


                         THOMAS E DIXON


                         US Small Business Admin.
                         409 3rd St., SW
                         Washington, DC 20416


                         Waste Pro
                         4785 Fulton Indutrial Blvd SW Ste F
                         Atlanta, GA 30336
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                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for RAA RESTAURANT GROUP, INC. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  June 5, 2024                                                           /s/ Leonard R. Medley,, III
 Date                                                                    Leonard R. Medley,, III 500685
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for RAA RESTAURANT GROUP, INC.
                                                                         Leonard Medley
                                                                         2727 Paces Ferry Rd
                                                                         Suite 1450 Bld 2
                                                                         Atlanta, GA 30339
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                                                                         closer@mkalaw.com




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